          Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 1 of 40 Page ID #:80


                                         SUMMONS                                                                                                     SUM-100
                                                                                                                          FOR COURT ME ONL
                                    (CITACION JUDICIAL)                                                               (SOLO PARA USO DE LA CORM)

NOTICE TO DEFENDANT: ZEALTHCARE
                              SERVICES GROUP      .•
(AVISO AL DEMANDADO): QUALITY BUSINES       S , INC ;
and DOES 1 through 100, Inclusive ,                                                                                                 A Jur
                                                                                                                                   r
                                                                                                                              cOgro



                                                                                                                                 tig.0.67.314
                                                                                                                        Sherri R. Carter, Executive OtticeriCte
                              ROSA ROBLES ,
•YOU ARE BEING SUED BY PLAINTIFF:                                                                                                 By: Judi Lare, Deputy
(LO ESTA DEMANDANDO EL DEMANDANTE):



' NOTICE! You have been sued. The court may decide against you wIthout your being heard unless you respond within 30 days. Read the Information
  below.
     You have 30 CALEN1DAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be In proper legal form if you want the court to hear your
  case. There may be a court forrn that you can use for your response. You can find these court forms and more Information at the Callfomia Courts
  Online Self-Help Center (www.courtInfo.ca.gov/selmelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requlrements. You may want to call an attorney right away. if you do not know an attorney, you may want to call an attomey
  referral service. lf you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal servIces program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomla.org), the Califomia Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar assoclatlon. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more In a civil case. The court's lien must be pald.before the court will dismiss the case.
  111%/ISOI Lo hen demandado. Si no responde dentro de 30 &as, la code puede decidir en su contra sin escuchar su versi6n. Lea la Infonnaciön a
   continuación
   Tlene 30 DIAS DE CALENDARIO después de quele entreguen este cited& y papeles legates pare presenter una respuesta por escrito en esta
 corte y hacer que se entregue una copla al demendante. Una carte o una llamada telef6nIca no lo protegen. Su respuesta por escrito tiene que ester
 en formato legal correcto si desea que procesen su caso en la code. Es posible qUe haya un formularto que usted puede user pare su respuesta.
 Puede encontrar estos formularlos de la corte y más Informact6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de ¡eyes de su condado o en la code que le quede más carca. St no puede pager la buote de presentacI6n, plda al secretado de la corte
 que le dé un formulario de exencl6n de pago de cuotas. SI no presenta su respuesta a Uempo, puede perder el caso por incumpllmlento y la corte le
 podrel gutter su sueldo, dlnero y blenes sin Ines advertencia.
   Nay otros requisitos legates. Es recomendable que llama a un abogado inmediatamente. SI no conoce a un abogado, puede llamar a un serviclo de
 rem/sib', a abogados. Si no puede pager a un abogado, es posIble que cumpla con los requIsitos para obtener serviclos legates gratultos de un
 programa de serviclos legates sin fines de Iucro. Puede encontrar estos grupos sin fines de lucro en el eto web de California Legal Services,
 (vww.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o ponl6ndose en contacto con la corte o el
 coleglo de abogados localbs. AVISO: Por ley, la code tlene deracho e reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperación de $10,000 6 más de valor recibida mediante un acuerdo o una concesl6n de arbitrate en un caso de derecho civil. Ilene que
 pager el gravamen de la code antes de que la corte puede desechar el caso.
The name and address ofihe court is:
(El nombre y dirección de la corte es):
                                                                                                          CASE NUMBER:
                                                                                                          (Nionero del Cur*
                                                                                                                                 BC 54,494
LOS ANGELES SUPERIOR COURT
111 North Hill Street
Los Angeles, CA 90012
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la dirección y el número de telgono del ebogado del demandante, o del demandante que no tiene abogado, es):
Marcus A. Mancini, Esq.                                                                            (818)783 -5 757                (8 1 8) 783-7710
MANCINI & ASSOCIATES
15303 Ventura Boulevard, Suite 600
Sherman Oaks, CA 91403
DATE:                                                      SHERNIAL CAM% erk, by
                                                                                                                iudiLas                              , Deputy
(Fecha)                                                                        (Secretarfo)                                                            (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para pruebe de entrege de esta citatión useel fdrrnulario Proof of Service of Summons, (POS-010)).
                                      NOTICE TO THE PERSON SERVED: You are served
 [SEAL]                               1.     as an individual defendant.
                                      2. l     I as the person sued under the fictitious narne of (specify):
                                                                                                                                      "'AC- •
                                       3.41on behalf of (specify):N;ea\-Y\INQCAA-e- 5e4\INCe51(-(2)1/4k
                                          under: eS;rCCP 416.10 (corporation) -                                     CCP 416.60 (minor)
                                                 I I  CCP 416.20 (defunct corporation)                              CCP 416,70 (conservatee)
                                                 nCCP 416.40 (association or partnership)                           CCP 416.90 (authorized person)
                                                 I  1 other (specify):
                                      4. IV by personal delivery on (date):    \t                                                                         Paget of 1
 Form Adopted for Mandatory Use                                         SUMMONS                                                 Coda of Clvil Procedure gg 412.20, 485
   Judicial Council of California
   SUM-100 [Rev. July 1, 20091
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 2 of 40 Page ID #:81




1 MARCUS A. MANCINI, ESQ. (State Bar No.146905)
  CHRISTOPHER BARNES, ESQ. (State Bar No. 206186)
2 TARA J. LICATA, ESQ. (State Bar No.266111)                     CONFORMED COPV
  MEGHAN E. GEORGE, ESQ. (State Bar No. 274525)                      Vg ng Olf
                                                                      r i             ralP
                                                                     611
3 MANCINI & ASSOCIATES
  A Professional Law Corporation
4 15303 Ventura Boulevard, Suite 600                                               Zai4
  Sherman Oaks, CA 91403
5 (818) 783-5757 Phone                                      Sherri R. carter, Executive Officer/Clem
                                                                     By:Judi LW, Deputy
  (818) 783-7710 Fax
6
  Attorneys for Plaintiff ROSA ROBLES
7
 8                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                          FOR THE COUNTY OF LOS ANGELES
10
11 ROSA ROBLES,                              Case No.   •   BC5449OR
12            Plaintiff,
                                             PLAINTIFF'S COMPLAINT FOR
13      VS.                                  DAMAGES:
14                                           (1)    PERCEIVED AND/OR
    HEALTHCARE SERVICES GROUP, INC.;                PHYSICAL DISABILITY
15 QUALITY BUSINESS SOLUTIONS, INC.;                DISCRIMINATION,
    and DOES 1 through 100, Inclusive,              HARASSMENT, AND
16                                                  RETALIATION IN VIOLATION
             Defendants.                            OF CALIFORNIA
17,                                                 GOVERNMENT CODE §§12940
                                                    ET SEQ.;
18
                                             (2)    VIOLATION OF CALIFORNIA
19                                                  FAMILY RIGHTS ACT,
                                                    CALIFORNIA GOVERNMENT
20                                                  CODE §§ 12945.2 ET SEQ.;
21                                            (3)   VIOLATION OF CALIFORNIA
                                                    LABOR CODE §923 ET SEQ.
22                                                  [SEEKING AND OBTAINING
                                                    LEGAL COUNSEL];
23
                                              (4)   RETALIATION AND
24                                                  WRONGFUL TERMINATION
                                                    IN VIOLATION OF PUBLIC
25                                                  POLICY;
26                                            (5)   DECLARATORY RELIEF
                                                    [Permanent Injunction
27                                                  Requested].
28


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                           PLAINTIk 'S COMPLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 3 of 40 Page ID #:82




1                                                      )           JURY TRIAL DEMANDED
                                                       )
2                                                                  UNLIMITED JURISDICTION:
                                                                   CASE VALlUE IN EXCESS OF
3                                                      )           $25,000.00.
4
                                                       )
5
6          COMES NOW Plaintiff ROSA ROBLES (hereinafter referred to as "ROBLES" or
 7 "Plaintiff ") and complsins against the above-named Defendants and for causes of action against
 8 'the Defendants, and each of them, alleges as follows:
 9                                                    I.
10                                     FIRST CAUSE OF ACTION
11               (For Perceived and/or Physical Disability Discrimination, Ilarassment
12                                   and Retaliation in Employment
13                           [California Government Code §12940 et seq.]
14                   Against A11 Defendants and DOES 1 Through 100, Inclusive)
15         1.      At all times mentioned herein, Plaintiff was, and now is, an individual
16 residing in the County of Los Angeles, State of California.
17         2.      Plaintiff is inforrned and believes, and thereon alleges, that at all times relevant
18 herein, Defdndant HEALTHCARE SERVICES GROUP, ENC. (hereinafter referred to collectively
19 with all other Defendants as "Defendants") were, and now are, valid businesses of form unknown
20 duly organi7ed and existing under the laws of the State of California, having its principal place of
21 business in the County of Los Angeles, State of California.
22          3.     Plaintiff is informed and believes, and thereon alleges, that at all times relevant
•23 herein, Defendant QUALITY BUSINESS SOLUTIONS, INC. (hereinafter referred to collectively
24 with all other Defendants as "Defendants") were, and now are, valid businesses of form unknown
25 duly organized and existing under the laws of the State of CaHfornia, having its principal place of
26 business in the County of Los Angeles, State of California.
27 / / /
28 / / /


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                             PLAINTIFF'S COMPLAINT FOR DAMAGES
         Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 4 of 40 Page ID #:83




     1          4.      Plaintiff is ignorant of the true names and capacities, whether corporate, associate,
    2 successor, individual or otherwise, of Defendants sued herein as DOES 1 - 100, Inclusive, and
     3 therefore sues said Defendants, and each of them, by such fictitious names. Plaintiff will seek leave
    4 of court to amend this Complaint to assert the true names and capacities of the fictitiously named
     5 Defendants when the same have been ascertained. Plaintiff is informed and believes, and thereon
    6 alleges, that each Defendant designated as "DOES" herein is legally responsible for the events,
    7 happenings, acts, occurrences, indebtedness, damages and liabilities hereinafter alleged and caused
     8 injuries and damages proximately thereby to the plaintiff, as hereinafter alleged.
     9          5.      Plaintiff is informed and believes, and thereon alleges, that at all times relevant
    10 herein, each Defendant designated, including DOES 1-100, herein was the agent, managing agent,
    11 principal, owner, partner, joint venturer, representative, supervisor, manager, servant, employee
    12 and/or co-conspirator of each of the other Defendants, and was at all times mentioned herein acting
.   13 within the course and scope of said agency and employment, and that all acts or omissions alleged
    14 herein were duly committed with the ratification, knowledge, permission, encouragement,
    15 authorization and consent of each Defendant designated herein.
    16          6.      At all times herein mentioned, for over four (4) years until her wrongful tennination
    17 on or about October 8, 2012, Plaintiff was employed as a Housekeeper by Defendants and DOES 1
    18 through 100, Inclusive, and each of them, who were also, at all times herein mentioned, Plaintiff's
    19 employers, managers and supervisors.
    20          7.      From June 2011, and continuing, Plaintiff developed and/or aggravated and/or
    21 sustained perceived and/or mental disability(s) including right hand and finger injuries, associated
    22 conditions and others.
.   23          8.      Plaintiff kept Defendants, and each of them, on notice of Plaintiff s disability(s).
    24          9.      Plaintiff's physician required Plaintiff to take full and/or intermittent CFRA and/or
    25 other medical leave and/or negotiated leave in order to recuperate and heal, and alleviate Plaintifrs
    26 disability(s).
    27           10.    Plaintiff made and/or articulated a worker's compensation claim(s).
    28           11.    Plaintiff requested medical assistance and Defendants, and each of them, denied it.


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                                  PLAINTIFF'S COMPLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 5 of 40 Page ID #:84




 1         12.     In or around December 2011, Plaintiff sought medical care on her own.
 2         13.     In or around Januaxy 2012, Plaintiff sought and obtained legal counsel and made
 3 and/or articulated a Worker's Compensation claim(s).
 4         14.     On or about June 21, 2012, Plaintiff had surgery on her right hand.
 5         15.     Plaintiffs physician required Plaintiff to take full and/or intermittent CFRA and/or
 6 other medical leave and/or negotiated leave in order to recuperate and heal, and alleviate Plaintiff's
 7 disability(s), from June 21, 2012 through October 8, 2012.
 8         16.     On or about October 8, 2012, Plaintiff contacted her Manager CARLOS CHAVEZ
 9 about returning to work. CHAVEZ told Plaintiff that Defendants, and each of them, would contact
10 Plaintiff when they found a position to accommodate Plaintiff. Plaintiff informed CHAVEZ that
11 she could return without any restrictions.
12          17.    Approximately one week after October 8, 2012, Manager CHAVEZ contacted
13 Plaintiff and told her "You have a [worker's compensation] lawyer. I don't think you're going to
14 work with us."
15          18.     On or about October 8, 2012, Defendants, and each of them, discriminated against,
16 retaliated against and wrongfully terminated Plaintiff for the false and/or exaggerated and/or
17 pretextual and illegal reason(s) that Plaintiff sought and obtained legal counsel.
18          19.     At all times hereinalleged, Plaintiff was a qualified disabled wOrker who could
19 perform the essential functions and duties of Plaintiff's position, without endangering Plahitiff
20 and/or others, with or without an accommodation.
21          20.     Plaintiff is informed and believes, and thereon alleges, that Defendants, and each of
22 them, replaced Plaintiff with and/or treated more fairly a non-disabled individual.
23          21.     Beginnfrig approximately in June 2011, and continuing at least through October 8,
24 2012, and continuing, Defendants and DOES 1 through 100, and each of them, discriminated,
25 harassed, and retaliated against Plaintiff on the basis of Plaintiff s perceived and/or physical
26 disability(s), by the following continuous actions, and conduct, among others:
27          a.      Failing to determine the extent of Plaintiff s disability(s) and how they could be
28                  accommodated;


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                             PLAINTIFF'S COMPLAINT FOR DAMAGES
    Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 6 of 40 Page ID #:85




1          b.       Failing to take any affirmative steps to inform Plaintiff of any job opportunities
2                   within the company;
3          c.       Failing to consider Plaintiff for and move Plaintiff into openings for which Plaintiff
4                   was qualified and could handle subject to Plaintiff s disability(s);
5          d.       Failing to engage in a timely, good faith, interactive process with Plaintiff to
6                   determine effective reasonable accommodations;
7          e.       Harassing, discriminating and retaliating against Plaintiff due to Plaintiff's
8                   disability(s), as hereinalleged;
9          f.       Harassing, discriminating and retaliating against Plaintiff due to Plaintiff requesting
10                  and/or taking and/or being entitled to CFRA and/or other lawful medical leave;
11         g.       Harassing, discriminating and retaliating against Plaintiff due to Plaintiff seeking
12                  and/or consulting and/or retaining legal counsel, as hereinalleged;
13         h.       On or about October 8, 2012, discriminating against, retaliating against and
14                  wrongfully terminated Plaintiff for the false and/or exaggerated and/or pretextual
15                  and illegal reason(s) that Plaintiff sought and obtained legal counsel;
16         i.       Keeping and/or replacing Plaintiff with, and/or treating more fairly, a non-disabled
17                  individual;
18         j.       Failing to re-hire Plaintiff.
19          22.     The acts and conduct of Defendants, and each of them, as aforesaid, was in
20 violation of California Government Code §12940 et seq. Said statutes impose certain duties upon
21 Defendants, and each of them, concerning harassment, discrimination and retaliation against
22 persons, such as Plaintiff, on the basis of perceived and/or physical disability and the prohibition of
23 perceived and/or raental disability harassment, discrimination and retaliation. Said statutes were •
24 intended to prevent the type of injury and damage herein set forth. Plaintiff was, at all times
25 material hereto, an employee with a perceived and/or physical disability(s), and within the
26 protected class covered by California Government Code §12940, prohibiting perceived and/or
27 physical disability harassment, discrimination and retaliation in employment.
28 / / /        •


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                              PLAINT11414 'S COMPLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 7 of 40 Page ID #:86




 1         23.     By the acts and conduct described above, Defendants, and each of them, in violation
 2 of said statutes, knew about, or should have known about, and failed to investigate and/or properly
 3 investigate, prevent or remedy the perceived and/or physical disability harassment, retaliation and
 4 discrimination. The acts of discrimination, retaliation and harassment described herein were
 5 sufficiently pervasive so as to alter the conditions of employment, and created an abusive working
 6 environment. When Plaintiff was harassed, discriminated against and retaliated against, Plaintiff's
 7 perceived and/or physical disability(s) and/or complaints about the unlawful conduct were
 8 substantial factors motivating and/or motivating reasons in Defendants conduct.
 9         24.     Plaintiff filed timely charges and complaints of perceived and/or physical
10 harassment, retaliation and discrimination with the California Department of Fair Employment and
11 Housing and has received Notice(s) of Right to Sue in a California Superior Court pursuant to
12 California Government Code §12965(b). Plaintiff has therefore exhausted Plaintiff's
13 administrative remedies under the California Government Code. Attached hereto and incorporated
14 herein as Exhibit "A" are said Complaints and by reference hereto are made a part hereof.
15 Attached hereto and incorporated herein as Exhibit "B" are said Right to Sue Notices and by
16 reference hereto are made a part hereof.
17          25.    By the aforesaid acts and conduct of Defendants, and each of them, Plaintiff has
18 been directly and legally caused to suffer actual damages pursuant to California Civil Code § 3333

19 including, but not limited to, loss of earnings and future earning capacity, medical and related
20 expenses for care and procedures both now and in the future, attOrneys fees, and other pecuniary
21 loss not presently ascertained, for which Plaintiff will seek leave of court to amend when
22 ascertained.
23          26.    As a direct and legal result of the acts and omissions of Defendants, and each of
24 them, Plaintiff was tendered sick, sore, lame, disabled and disordered, both internally and
25 externally, and suffered, among other things, numerous internal injuries, severe fright, shock, pain,
26 discomfort and anxiety. The eXact nature and extent of said injuries are not known to the plaintiff,
27 who will pray leave of court to insert the same when they are ascertained. Plaintiff does not at this
28 time know the exact duration or permanence of said injuries, but is informed and believes, and


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                             PLAINTIFF'S COMPLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 8 of 40 Page ID #:87




 1 thereon alleges, that some of the said injuries are reasonably certain to be permanent in character.
 2          27.    As a further legal result of the acts and omissions of the Defendants, and each of
 3 them, Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs
 4 during the period of Plaintiff s disability, and is informed and believes, and thereon alleges, that
 5 she will in the future be forced to incur additional expenses of the same nature, all in an amount
 6 which is at present unknown. Plaintiff will pray leave of court to show the exact amount of said
 7 expenses at the time of trial.
 8          28.     Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but
 9 since said incidents has been unable to engage fully in Plaintiff s occupation, and is informed and
10 believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintiff's
1 1 usual work for an indefinite period of time in the future, all to Plaintiff's damage in an amount
12 which is at preSent unascertained. Plaintiff will pray leave of court to show the total amount of
13 loss of earnings at the time of trial.
14          29.     As a further direct and legal result of the acts and conduct of Defendants, as
15 aforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent
16 emotional and mental distress and anguish, humiliation, embarrassment, fright, shock, pain,
17 discomfort and anxiety. The exact nature and extent of said injuries is presently unknown to
18 plaintiff, who will pray leave of court to assert the same when they are ascertained.
19          30.     Plaintiff has been generally damaged in an amount within the jurisdictional limits of
20 this court.
21          31.     The aforementioned acts of Defendants, and each of them, were wilful, wanton,
22 malicious, intentional, oppressive and despicable and were done in wilful and conscious disregard
23 of the rights, welfare and safety of plaintiff, and were done by managerial agents and employees of
24 Defendants and DOES 1 through 100, and with the express knowledge, consent, and ratification of
25 managerial agents and employees of Defendants and DOES 1 through 100, thereby justifying the
26 awarding of punitive and exemplary damages in an amount to be determined at the time of trial.
27 / / /
28 / / /


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                              PLAINTIFF'S COM:PLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 9 of 40 Page ID #:88




 1             32.   As a result of the discriminatory acts of Defendants, and each of them, as alleged
 2 herein, Plaintiff is entitled to reasonable attorneys fees and costs of said suit as specifically
 3 provided in California Government Code § I2965(b).
 4                                                     11.
 5                                     SECOND CAUSE OF ACTION

 6                                 (For Violation of the Family Rights Act
 7                                [California Government Code § 12945.2]
 8                     Against All Defendants and DOES 1 Through 100, Inclusive)
 9             33.   Plaintiff incorporates herein by reference Paragraphs 1 through 32 as though set
10 forth in full herein.
11             34.   Plaintiff was an employee of Defendants who qualified for leave due to a
12 disability(s).pursuant to California Government Code Section 12945.2 et seq.
13             35.   At all times herein mentioned, Defendants were "Employer[sl" within the
14 definition of Government Code Section 12945.2, in that Defendants regularly employed 50 or more
15 people and/or adhered and/or abided by CFRA and/or gave their employees equal or greater leave
16 • rotection than CFRA.
17             36.   Beginning approximately in or around June 2011, and continuing at least through
18 October 8, 2012, and continuing, Defendants and DOES 1 through 100, and each of them, denied
19 and retaliated against Plaintiff for being entitled to and/or requesting and/or taking Plaintiff s
20 Family Rights and Family Care and Medical Leave, by the following actions, among others:
21             a.    Defendants, and each of them, harassed, discriminated against and retaliated against
22         •         Plaintiff, as hereinalleged, in the terms and conditions of Plaintiffs employment;
23             b.    Defendants and each of them, retaliated against and wrongfully terminated Plaintiff
24                   because of Plaintiff s entitlement and/or request and/or taking of the right to
25                    medical leave in violation of Government Code Section 12945.2 et seq.;
26              c.    Defendants, and each of them, refused to allow Plaintiff to retain Plaintiff s
27.                   employee status and refused to return Plaintiff to work in violation of Government
28                    Code Section 12945.2 et.seq.


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                               PLAINTIFF'S COMPLAINT FOR DAMAGES
Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 10 of 40 Page ID #:89




 1             37.   By the acts and conduct described above, Defendants, and each of them, in violation
2 of said statutes, knew about, or should have known about, and failed to investigate and/or properly
3 investigate, prevent or remedy the retaliation and discrimination in violation of the Family Rights
 4 Act. The acts of discrimination described herein were sufficiently pervasive so as to alter the
 5 conditions of employment, and created an abusive working environment. When Plaintiff was
 6 terminated, Plaintiff s request and/or taking and/or right to take, Family Medical Leave, and/or her
 7 complaints about the unlawful conduct were motivating reasons in Defendants conduct.
 8             38.   Plaintiff filed timely charges and complaints of retaliation, harassment and
 9 discrimination in violation of the Family Rights Act with the California Department of Fair
10 Employment and Housing pursuant to California Government Code §12965(b), permitting Plaintiff
11 to bring this legal action. Attached hereto and incorporated herein as Exhibit "A" are said
12 Complaints and by reference hereto are Made a part hereof. Attached hereto and incorporated
13 herein as Exhibit "W' are said Right to Sue Notices and by reference hereto are made a part hereof.
14             39.   By the aforesaid acts and conduct of Defendants, and each of them, Plaintiff has
15 been directly and legally caused to suffer actual damages pursuant to California Civil Code §3333
16 including, but not limited to, loss of earnings and future earning capacity, medical and related
17 expenses for care and procedures both now and in the future, attorneys fees, and other pecuniary
18 loss not presently ascertained, for which Plaintiff will seek leave of court to amend when
19 ascertained.
20             40.   As a direct and legal result of the acts and omissions of Defendants, and each of
21 them, Plaintiff was rendered sick, sore, lame, disabled and disordered, both internally and
22 externally, and suffered, among other things, numerous internal injuries, severe fright, shock, pain,
23 discomfort and anxiety. The exact nature and extent of said injuries are not known to the plaintiff,
24 who will pray leave of court to insert the same when they are ascertained. Plaintiff does not at this
25 time know the exact duration or permarience of said injuries, but is informed and believes, and
26 thereon alleges, that some of the said injuries are reasonably certain to be permanent in character.
27 / / /   •
28 / / /


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                               PLAINTIFF'S COMPLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 11 of 40 Page ID #:90

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            41.    As a further legal result of the acts and omissions of the Defendants, and each of
 2 them, Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs
 3 during the period of Plaintiff s disability, and is informed and believes, and thereon alleges, that
 4 she will in the future be forced to incur additional expenses of the same nature, all in an amount
 5 which is at present unknown. Plaintiff will pray leave of court to show the exact amount of said
 6 expenses at the time of trial.
 7          42.     Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but
 8 since said incidents has been unable to engage fully in Plaintiff s occupation, and is informed and
 9 believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintiff s
10 usual work for an indefinite period of time in the future, all to Plaintiff's damage in an amount
11 which is at present unascertained. Plaintiff will pray leave of court to show the total amount of
12 loss of earnings at the time of trial.
13          43.     As a further direct and legal result of the acts and conduct of Defendants, as
14 aforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent
15 emotional and mental distress and anguish, humiliation, embarrassment, fright, shock, pain,
16 discomfort and anxiety. The exact nature and extent of said injuries is presently unknown to
17 plaintiff, who will pray leave of court to assert the same when they are ascertained.
18          44.     Plaintiff has been generally damaged in an amount within the jurisdictional limits of
19 this court.
20.         45.     The aforementioned acts of Defendants, and each of them, were wilful, wanton,
21 malicious, intentional, oppressive and despicable and were done in wilful and conscious disregard
22 of the rights, welfare and safety of plaintiff, and were done by managerial agents and employees of
23 Defendants and DOES 1 through 100, and with the express knowledge, consent, and ratification of
24 managerial agents and employees of Defendants and DOES 1 through 100, thereby justifying the
25 awarding of punitive and exemplary damages in an amount to be determined at the time of trial.
26           46.    As a result of the discriminatory acts of Defendants, and each of them, as alleged
27 herein, Plaintiff is entitled to reasonable attorneys fees and costs of said suit as specifically
28 provided in California Government Code § 12965(b).


                                              10
                              PLAINTIFF'S COMPLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 12 of 40 Page ID #:91



                           •
 1
 2                                     THIRD CAUSE OF ACTION
 3                    (For Violation of the Right to Seek and Obtain Legal Counsel
 4                                     [California Labor Code §9231
 5                    Against All Defendants and DOES 1 Through 100, Inclusive)
 6          47.     Plaintiff incorporates herein by reference Paragraphs 1 through 46 as though set
 7 forth in full herein.
 8          48.     California Labor Code §923 declares the existence of a public policy premised on
 9 an employee's right to seek and designate legal representation in dealing with their employer.
10 California Labor Code §923 declares it necessary that Plaintiff, as an employee, have full freedom
11 of association, self-organization, and designation of representatives of his own choosing, to
12 negotiate the terms and conditions of his employment, and that he shall be free from the
13 interference, restraint, or coercion of employers of labor, or their agents, in the designation of such
14 representatives.
15          49.     On or about October 8, 2012, and continuing; Defendants, and each of them,
16 wrongfully terminated Plaintiff, at least in part, for asserting Plaintiff s right to legal representation
17 to negotiate terms and conditions of Plaintiff s employment on Plaintiffs behalf, regarding
18 worker's compensation claim(s) and/or during a employment dispute. When Plaintiff was
19 terminated, Plaintiff s seeking, obtaining and retaining legal counsel, and/or Plaintiff's complaints
20 about the unlawful conduct were motivating reason(s) in Defendants conduct.
21          50.     By the aforesaid acts and conduct of Defendants, and each of them, Plaintiff has
22 been directly and legally caused to suffer actual damages pursuant to California Ciyil Code § 3333
23 including, but not limited to, loss of earnings and future earning capacity, medical and related
24 expenses for care and procedures both now and in the future, attorneys fees, and other pecuniary
25 loss not presently ascertained, for which Plaintiff will seek leave of court to amend when
26 ascertained.
27 / / /
28 / / /


                                               11
                               PLAINTIFF'S COMPLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 13 of 40 Page ID #:92




 1          51.    As a direct and legal result of the acts an.d omissions of Defendants, and each of
 2 them, Plaintiff was rendered sick, sore, lame, disabled and disordered, both internally and
 3 externally, and suffered, among other things, numerous internal injuries, severe fright, shock, pain,
 4 discomfort and anxiety. The exact nature and extent of said injuries are not known to the plaintiff',
 5 who will pray leave of court to insert the same when they are ascertained. Plaintiff does not at this
 6 time know the exact duration or pernaanence of said injuries, but is informed and believes, and
 7 thereon alleges, that some of the said injuries are reasonably certain to be pennanent in character.
 8          52.    As a further legal result of the acts and omissions of the Defendants, and each of
 9 them, Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs •
10 during the period of Plaintiff's disability, and is informed and believes, and thereon alleges, that
11 she will in the future be forced to incux additional expenses of the same nature, all in an amount
12 which is at present unknown. Plaintiff will pray leave of court to show the exact amount of said
13 expenses at the time of trial.
14          53.     Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but
15 since said incidents has been unable to engage fully in Plaintiff s occupation, and is informed and
16 believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintiff s
17 usual work for an indefinite period of time in the future, all to Plaintiff s damage in an amount
18 which is at present unascertained. Plaintiff will pray leave of court to show the total amount of
19 loss of earnings at the time of trial.
20          54.     As a further direct and legal result of the acts and conduct of Defendants, as
21 aforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent
22 emotional a.nd mental distress and anguish, humiliation, embarrassment, fright, shock, pain,
23 discomfort and anxiety. The exact nature and extent of said injuries is presently unknown to
24 plaintiff, who will pray leave of court to assert the same when they are ascertained.
25          55.     Plaintiff has been generally damaged in an amount within the jurisdictional limits of
26 this court.
27 / / /
28 / I /


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                              PLAINTIFF'S COMPLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 14 of 40 Page ID #:93




 1          56.      The aforementioned acts of Defendants, and each of them, were wilful, wanton,
 2 malicious, intentional, oppressive and despicable and were done in wilful and conscious disregard
 3 of the rights, welfare and safety of plaintiff, and were done by managerial agents and employees of
 4 Defendants and DOES 1 through 100, and with the express knowledge, consent, and ratification of
 5 managerial agents and employees of Defendants and DOES 1 through 100, thereby justifying the
 6 awarding of punitive and exemplary damages in an amount to be determined at the time of trial.
 7          57.      As a result of the discriminatory acts of Defendants, and each of them, as alleged
 8 herein, Plaintiff is entitled to reasonable attorneys fees and costs of said suit as specifically
 9 provided in California Code of Civil Procedure §1021.5. •
10                                                      IV.
11                                      FOURTH CAUSE OF ACTION
12                (For Retaliation and Wrongful Termination in Violation of Public Policy
13                          Against All Defendants and DOES 1 -100, Inclusive)
14          58.      Plaintiff incorporates herein by reference Paragraphs 1 through 57 as though set
15 forth in full herein.
16          59.      At all times herein mentioned, the public policy of the State of California, as
17 codified, expressed and mandated in California Governraent Code §12940 was to prohibit
18 employers from discriminating and retaliating against any individual based on perceived and/or
19 physical disability(s). This public policy of the State of California is designed to protect all
20 employees and to promote the welfare and well-being of the community at large. Accordingly, the
21 actions of Defendants, and each of them, in discriminating, retaliating and terminating Plaintiff on
22 the gounds of stated above, or for complaining about such discrimination and retaliation, was
23 wrongful and in contravention and violation of the express public policy of the State of California,
24 to wit, the policy set forth in California Government Code §12940 et seq., and the laws and
25• regulations promulgated thereunder.
26          60.       • At all times herein mentioned, the public policy of the State of California, as
27 codified, expressed and mandated in California Government Code §12945.2 was to prohibit
28 employers from discriminating and retaliating against any individual based on entitlement to,


                                               13
                               PLAINTIFF'S COMPLAINT FOR DAMAGES
Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 15 of 40 Page ID #:94




 1 taking of or entitlement to, CFRA medical leave rights. This public policy of the State of
 2 California is designed to protect all employees and to promote the welfare and well-being of the
3 community at large. Accordingly, the actions of Defendants, and each of them, in discriminating,
 4 retaliating and terminating Plaintiff on the grounds of stated above, or for complaining about such
 5 discrimination and retaliation, was wrongful and in contravention and violation of the express
 6 public policy of the State of California, to wit, the policy set forth in California Government Code
 7 §12945.2 et seq., a.nd the laws and regulations promulgated thereunder.
 8         61.     At all times herein mentioned, the public policy of the State of California, as
 9 codified, expressed and mandated in California Labor Code §923 was to prohibit employers from
10 discriminating and retaliating against any individual based on seeking and/or obtaining legal
11 counsel. This public policy of the State of California is designed to protect all employees and to
12 promote the welfare and well-being of the community at large. Accordingly, the actions of
13 Defendants, and each of them, in discriminating, retaliating and terminating Plaintiff on the
14 grounds of stated above, or for complaining about such discrimination and retaliation, was
15 wrongful and in contravention and violation of the express public policy of the State of California,
16 to wit, the policy set forth in California Labor Code §923 et seq., and the laws and regulations
17 promulgated thereunder.
18          62.    At all times herein mentioned, the public policy of the State of California, as
19 codified, expressed and mandated in California Labor Code §132a was to prohibit employers from
20 discriminating and retaliating against any individual based on articulating and/or filing a Worker's
21 Compensation claim and/or their status as a injured worker under same. This public policy of the
22 State of California is designed to protect all employees and to promote the welfare and well-being
23 of the community at large. Accordingly, the actions of Defendants, and each of them, in
24 discriminating", retaliating and terminating Plaintiff on the grounds of stated above, or for
25 complaining about such discrimination and retaliation, was wrongful and in contravention and
26 violation of the express public policy of the State of California, to wit, the policy set forth in
27 California Labor Code §132a et seq., and the laws and regulations promulgated thereunder.
28 / / /


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                              PLAINTIFF'S COMPLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 16 of 40 Page ID #:95




 1         63.     By the aforesaid acts and conduct of Defendants, and each of them, Plaintiff has
 2 been directly and legally caused to suffer actual damages pursuant to California Civil Code § 3333
 3 including, but not limited to, loss of earnings and future earning capacity, medical and related
 4 expenses for care and procedures both now and in the future, attorneys fees, and other pecuniary
 5 loss not presently ascertained, for which Plaintiff will seek leave of court to amend when
 6 ascertained.
 7         64.     As a direct and legal result of the acts and omissions of Defendants, and each of
 8 them, Plaintiff was rendered sick, sore, lame, disabled and disordered, both internally and
 9 externally, and suffered, among other things, numerous internal injuries, severe fright, shock, pain,
10 discomfort and anxiety. The exact nature and extent of said injuries are not known to the plaintiff,
11 who will pray leave of court to insert the same when they are ascertained. Plaintiff does not at this
12 time know the exact duration or permanence of said injuries, but is informed and believes, and
13 thereon alleges, that some of the said injuries are reasonably certain to be permanent in character.
14          65.     As a further legal result of the acts and omissions of the Defendants, and each of
15 them, Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs
16 during the period of Plaintiffs disability, and is informed and believes, and thereon alleges, that he
17 will in the future be forced to incur additional expenses of the same nature, all in an amount which

18 is at present unknown. Plaintiff will pray leave of court to show the exact amount of said expenses
19 at the time of trial.
20          66.     Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but
21 since said incidents has been unable to engage fully in Plaintiff's occupation, and is informed and
22 believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintiff s
23 usual work for an indefinite period of time in the future, all to Plaintiff s damage in an amount
24 which is at present unascertained. Plaintiff will pray leave of court to show the total amount of
25 loss of earnings at the time of trial.
26          67.     As a further direct and legal result of the acts and conduct of Defendants, as
27 aforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent
28 emotional and mental distress and anguish, humiliation, embarrassment, fright, shock, pain,


                                              15
                              PLAINTIFF'S COMPLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 17 of 40 Page ID #:96




 1 discomfort and anxiety. The exact nature and extent of said injuries is presently unknown to
 2 plaintiff, who will pray leave of court to assert the same when they are ascertained.
 3          68.    Plaintiff has been generally damaged in an amount within the jurisdictional limits of
 4 this court.
 5          69.    The aforementioned acts of Defendants, and each of them, were wilful, wanton,
 6 malicious, intentional, oppressive and despicable and were done in wilful and conscious disregard
 7 of the rights, welfare and safety of plaintiff, and were done by managerial agents and employees of
 8 Defendants and DOES 1 through 100, and with the express knowledge, consent, and ratification of
 9 managerial agents and employees of Defendants and DOES 1 through 100, thereby justifying the
10 awarding of punitive and exemplary damages in an amount to be determined at the time of trial.
11          70.     As a result of the discriminatory acts of Defendants, and each of them, as alleged
12 herein, Plaintiff is entitled to reasonable attorneys fees and costs of said suit as specifically
13 provided in California Code of Civil Procedure §1021.5
14                                                     V.
15                                      FIFTH CAUSE OF ACTION
16            (For Declaratory Relief Against All Defendants and DOES 1 -100, Inclusive)
17          71.     Plaintiff incorporates herein by reference Paragraphs 1 through 70 as though set
18 forth in full herein.
19          72.     Depending on the outcome of this lawsuit via dispositive motion and ruling and/or a
20 trial and verdict in this matter, Plaintiff hereby requests this Court issue an affirmative and binding
21 Declaration of Rights and Duties pursuant to the recent ruling in Harris v. City ofSanta Monica,
22 Case No. S181004, Cal.Sup.Ct. 2/7/13, declaring that Defendants, and each of them, their
23 successors, agents, representatives, employees and all persons who acted. alone, or in concert with
24 said Defendants, and each of them, committed acts and conduct of harassment, discrimination,
25 retaliation, or other similar acts including, but not limited to, the violations alleged in all of the
26 relevant Causes of Action herein, and as proved and/or shown at the time of the ruling(s) and or
27 verdict(s), and as prohibited by the Fair Employment and Housing Act, California Government
28 Code §§12900 - 12996,• and any other applicable laws, cases, codes, regulations and statutes.


                                              16
                              PLAINTIFF'S COMPLAINT FOR DAMAGES
 Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 18 of 40 Page ID #:97




 1          73.    At the time of the request for Declaratory Relief, there exists and/or will exist a
 2 present and actual controversy among the parties.
 3          74.     This Complaint, and the relevant causes of action herein, specifically plead an
 4. actual, present controversy, and the facts of the respective and underlying claims.
 5          75.    At the time of the request for Declaratory Relief, the facts of this case will have
 6 congealed to the point that the Court can detennine issues and grant relief through Declaratory
 7 Relief and issue a decree of a conclusive character, with the force and effect of a Final Judgtnent.
 8          76.    As a result of the wrongful acts of Defendants, and each of them, as alleged herein,
 9 Plaintiff requests that this Court issue an Order and Ruling permanently enjoining Defendants, and
10 each of them, their successors, agents, representatives, employees and all persons who acted alone,
11 or in concert with said Defendants, and each of them, from committing acts and conduct of
12 harassment, discrimination, retaliation, or other similar acts including, but not limited to, the
13 violations alleged in all of the relevant Causes of Action herein, and as proved and/or shown at the
14 time of the ruling(s) and or verdict(s), and as prohibited by the Fair Employment and Housing Act,
15 California Government Code §§12900 - 12996, and any other applicable laws, cases, codes,
16 regulations and statutes.
17          77.     As a result of the wrongful conduct of Defendants, and each of them, as alleged
18 herein, Plaintiff is entitled to reasonable attorneys fees and costs of said suit as specifically
19 provided in California Government Code § 12965(b) and as specifically mentioned in Harris v.
20 City of Santa Monica, Case No. S181004, Cal.Sup.Ct. 2/7/13.
21                  WHEREFORE, PlaintiffROSA ROBLES, prays for judgment against the
22 Defendants, and each of them, as follows:
23                  1.      For general darrInges in an amount within the jurisdictional limits of this
24                          Court;
25                  2.      For medical expenses and related items of expense, according to proof;
26                  3.      For loss of earnings, according to proof;
27                  4.      For loss of earning capacity, according to proof;
28 / / /


                                               17
                               PLAINTIFF'S COMPLAINT FOR DAMAGES
Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 19 of 40 Page ID #:98




1              5.       For reasonable attorneys fees and costs of said suit as specifically provided
2                       in California Government Code §12965 (b), according to proof;
3              6.       For reasonable attorneys' fees and costs of said suit as specifically provided
4                       in California Code of Civil Procedure §1021.5, according to proof;
5              7.       For a perrnanent injunction against Defendants, and each of them, their
6                       successors, agents, representatives, employees and all persons who acted
7                       alone, or in concert with said Defendants, and each of them, from
8                       committing acts and conduct of harassment, discrimination, retaliation, or
9                       other similar acts including, but not limited to, the violations alleged in all of
10                      the relevant Causes of Action herein, and as proved and/or shown at the time
11                      of the ruling(s) and or verdict(s), and as prohibited by the Fair Employment
12                      and Housing Act, California Government Code §§12900 - 12996, and any
13                      other applicable laws, cases, codes, regulations and statutes;
14              8.      For reasonable attorneys' fees and costs of said suit as specifically provided
15                      in California Government Code § 12965(b) and as specifically mentioned in
16                      Harris v. CO) of Santa Monica, Case No. S181004, Cal.Sup.Ct. 2/7/13;
17              9.      For prejudgnaent interest according to proof;
18              10.     For punitive and exemplary damages, according to proof;
19              11.     For costs of suit incurred herein; and
20              12      For such other and further relief as the court may deem just and proper.
21
22 Dated: May 5, 2014                                   MANCINI & ASSOCIATES
                                                        A Professional Law Corporation
23
24
25                                                      By:
                                                                 MARCUS A.. MANCINI, ESQ/
26                                                               Attorneys for Plaintiff
                                                                 ROSA ROBLES
27
28


                                            18
                          PLAINTIFF'S COIVIPLAINT FOR DAMAGES
Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 20 of 40 Page ID #:99




                 EXHIBIT 'A'
Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 21 of 40 Page ID #:100




                                         CALIFORNIA DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                                                                                                  EMPLOYMENT

                                        COMPLAINT OF DISCRIMINATION UNDER THE PROVISIONS OF THE CALIFORNIA FAIR EMPLOYMENT AND HOUSING ACT


                                                                                                                                                        DFEH INQUIRY NUMBER:
                                                                                                                                                               115982-50971


   COMPLAINANT NAME:
   Rosa Robles

   NAMED IS THE EMPLOYER, PERSON, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP COMMITTEE, OR
   STATE OR LOCAL GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME:

   RESPONDENT NAME:                                                        RESPONDENT ADDDRESS:                                                            TELEPHONE NUMBER:
                                                                           5199 E. Pacific Coast Highway
   HEALTHCARE SERVICES GROUP,
   INC., Agent for Services                                                    Long Beach, CA, 90804

   AGENT FOR SERVICE:                                                  AGENT FOR SERVICE ADDRESS:                                                                    CITY/STATE/ZIP:




   NO. OF EMPLOYEES/MEMBERS: DATE MOST RECENT DISCRIMINATION TOOK PLACE:                                                                                      TYPE OF EMPLOYER:
   200                        Oct 08, 2012                                                                                                                        Private Employer



   CO-RESPONDENT(S):

   NAME                                                                   ADDRESS
   Agent for Sentice
                                                                          5199 E. Pacific Coast Highway, Suite 402 Long Beach CA 90804
   QUALITY BUSINESS SOLUTIONS, INC.




    I wish to pursue this matter In court. I hereby request that the Department of Fair Employment and HousIng provide a right to sue. I understand that if I want o federal right to sue
    notice. I mual visit the U.S. Equal Empioyment Opportunity Commission (EEOC) to file a complaint within 30 days of recelpt of the OFER 'Notice of Case Closure end Right to Sue,"
    or within 300 days of the alleged discriminatory aci, whichever la earlier.

     have not been coerced Into maldng Ihis requeat, nor do I make it based on fear of retaliation Ifl do not do so. I understand It Is the Department of Fair Employment end tiouslng's
    policy to not process or reopen a complaint once the complaint has been dosed on the basis of 'Complainant Elected Court Action.'

    By aubmIttIng this complaint, I arn decterIng under penalty of potful),under the laws of the State of California that. to the best of my knowledge, all information contained In Itis
    complaint Is true and =real, except matters etated on my Information and belief, and I dedare that those matters I believe to be true.


    DATED May 07, 2013 At Sherman Oaks                                        VERIFIED BY:Marcus A Mancini

    DFEH-300-030 (07/12)                                                                              DATE FILED: May 07, 2013                                      STATE OF CALIFORNIA
    DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING                                                         MODIFIED: May 07, 2013
                                                                                                                                                                                     Page 1/2
Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 22 of 40 Page ID #:101



                                CALIFORNIA DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                                                                            EMPLOYMENT

                        COMPLAINT OF DISCRIMINATION UNDER THE PROVISIONS OF THE CAUFORNIA FAIR EMPLOYMENT AND
                                                             HOUSING ACT


   I ALLEGE THAT I EXPERIENCED:
   Discrimination, Harassment, Retaliation

   ON.OR BEFORE: Oct 08, 2012

    BECAUSE OF MY Disability, Engagement In Protected Activity, Family Care or Medical Leave
    ACTUAL OR
    PERCEIVED:

    AS A RESULT, I WAS:                      Asked impermissible non-job-related questions, Demoted, Denied a good faith interactive
                                             process, Denied a work environment free of discrimination end/or retaliation, Denied
                                             employment, Denied family care or medical leave, Denied or forced to transfer, Denied
                                             reasonable accommodation, Denied reinstatement, Terminated, Other
                                             harassment discrimination retaliation



    STATE WHAT YOU BELIEVE TO BE THE REASON(S) FOR DISCRIMINATION:


    Frorn 6/2011, and continuing at least through 10/8/12, and continuing, I was harassed, discriminated against and retaliated against based
    on my perceived and/or physical dIsability[s] [right hand and finger injuries,associated conditions,othere].




    DFEH-300-030 (07/12)                                                    DATE FILED: May 07, 2013                 STATE OF CALIFORNIA
    DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING                               MODIFIED: May 07, 2013
                                                                                                                                       Page 212
Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 23 of 40 Page ID #:102




                 EXHIBIT ' B '
Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 24 of 40 Page ID #:103




               ŠTATE OF CILIFORNiA - sum AND CONSUMER SERVICES AGENCY                       GOVERNOR EDMUND O. E3ROWN JR.


                DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                         DIRECTOR PilYLLIS W. CHENEI

                2218 Reuses) Drive. Suite 100 I Elk Drove CA I 95758
                (800)684-1884 I Videophone (910)228-5285 I TDD (1300) 700-2320
                www.dreh.ca.gov j email; Contacteenter@dfah.ca.gov


          May 07, 2013
          Rosa Robles
           care of mancini and Associates 15303 Ventura Boulevard Suite 600
           Sherman Oaks, CA 91403


           RE: 115982-50971 - Robles Rosa - Right To Sue


                                            Notice of Case Closure and Right•to Sue


           Dear Rosa Robles:

           This letter informs you that the abbve-referenced complaint that was filed with the
           Department of Fair Employment and Housing (DFEH) has been closed effective May
           07, 2013 because an immediate Right to Sue notice was requested. DFEH will take no
           further action on the complaint.                                      •




           This letter Is also your Right to Sue notice. According to Government Code section
           12965, subdivision (b), a civil action may be brought under the provisions of the Fair
           Employment and Housing Act against the person, employer, labor organization or
           employrnent agency named In the above-referenced complaint. The civil action must be
           filed within one year from the date of this letter.

           To obtain a federal Right to Sue notice, you must visit the U.S. Equal Employment
           Opportunity Commission (EE0O) to file a complaint within 30 days of receipt of this
           DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
           whichever Is earlier.

           DFEH does not retain case files beyond three years after a complaint Is filed, unless the
           case is still open at the end of the three-year period.

            Sincerely,



            Department of Fair Employment and Housing



            cc: Agent for Services, Agent for SeivIce for HEALTHCARE SERVICES GROUP, INC.

            Agent for Service

            QUALITY BUSINESS SOLUTIONS, INC.
     Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 25 of 40 Page ID #:104


 ATTORNEY OR PARTY WITHOUT ATrORNEY (Name, State Bar number,. and address).                                                           FOR COURT USE ONLY

—Marcus A. ManQini, ESCI.
 MANCINI & ASSOCIATES
 15303 Ventura Boulevard
 Suite 600                                                                                                                                   no
 Sherman Oaks, CA 91403                                                                                                             Biala COPN
                                                                                                                             CONvq,,,sasci..
      TELEPHONE NO.: (818 ) 78 3 - 5757                   FAX NO.:    (818) 783-7710                                               014"rortocce
                                                                                                                                     ,..     „ -
 ATTORNEY FOR(Nemo Plaintiff                                                                                                      šoon-:.
                                                                                                                                    0.,.-; no - . •
 SUPERIOR COURT OF CAUFORNIA, COUNTY OF LOS ANGELES                                                         '
    STREET ADDRESS: 1 1 1 North Hill Street                                                                                                  . Q_' to 106t
    MAILING ADDRESS: Los Angeles , CA 90012                                                                                                                 „"fiber10011(
   CITY AND ZIP CODE:                                                                                                                        i eyocutve v "'
       BRANCH NAME: CENTRAL
                                                                                                                          WO1Vi• Galte ' tore, DePutY
                                                                                                                                   ; udi
                                                                                                                                 ev J
 CASE NAME: ROBLES -vs - HEALTHCARE SERVICES GROUP ,
 INC . . et al . ,
                                                               Complex Case Designation                                 CASE NUMBER:                                     -
     CIVIL CASE COVER SHEET
l X I Unlimited
      (Amount
                       Ti Limited
                              (Amount
                                                  I    I Counter                'Joinder                                              13C-5449OP
                                                  Filed with first appearance by defendant ' JUDGE:                                 '"g1
      demanded                demanded Is
      exceeds $25,000) $25,000 or less)               (Cal. Rules of Court, rule 3.402)         DEPT:
                                    items 1-6 below rnust be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
   Auto Tort                                      Contract                                Provisionally Complex Civil Litigation
    n Auto (22)                                           I-I
                                                         Breach of contract/warranty (06) (Cal. Rules of Court, rules 3.400-3.403)
    [ I  Uninsured  motorist   (46)                       I-I
                                                         Rule 3.740 collections (09)                       1-1
                                                                                                AntitrustfTrade regulation (03)
    Other PI/PD/WD (Personal Injury/Property             Other collections (09)           I   I Construction defect (10)
    Damage/Wrongful Death) Tort
                                                       i Insurance coverage (18)                           El
                                                                                                Mass tort (40)
    ET Asbestos (04)                                   I Other contract (37)              I I Securities litigation (28)
         Product !lability (24)                   Real Property                                            Ei
                                                                                                Environmental/Toxic tort (30)
         Medical malpractice (45)                        Eminent domain/inverse               1 Insurance coverage claims arising f'rom the
    E1   Other PLIPD/WD (23)                             condemnation (14)
                                                   71Wrongful eviction (33)
                                                                                                 above listed provisionally complex case
                                                                                                types (41)
    Non-PI/P[11WD (Other) Tort
    r--1 Business tort/unfair business practice (07) 1-1 Other real property (26)                           Enforcement of Judgment
    ni Civil rights (08)                                   Unlawful Detainer                                El Enforcement of judgment (20)
         Defamation (13)                                   1-1Commercial (31)                               Miscellaneous Civil Complaint
            Fraud (16)                                     I     1 Residential (32)                                 1   RICO (27)
            intellectual property (19)                            Drugs (38)                                            Other complaint (not specified above) (42)
            Professional negligence (25)                   Judicial Review                                      Miscellaneous Civil Petition
    1   Other non-PIIPD/WD tort (35)                              Asset forfeiture (05)                     ElPartnership and corporate govemance (21)
    Employment                                                    Petition re: arbitration award (11)       I       I Other petition (not specified above) (43)
    lxlWrongful termination (36)                           1      Writ of mandate (02)
     l.     Other employment (15)                                 Other judicial review (39)
2. This case 1 l is                  El
                                   Is'not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a niLarge number of separately represented parties d. 71Large number of witnesses
   b 1-1 Extensive motion practice raising difficult or novel e.                 El
                                                                         Coordination with related actions pending In one or more courts
             Issues that will be time-consuming to resolve               in other counties, states, or countries, or in a federal court
    c. l 1 Substantial amount of documentary evidence           f.              Ti
                                                                         Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.            r---1
                                                     rnonetary b.               FT
                                                                        nonmonetary; declaratory or Injunctive relief c. l X I punitive
4. Number of causes of action (spechy): Five (5 )
5. Thls case Jl is 157 Is not            a class action suit.
6. If there are any known related cases, file and serve a notice of related                     . ( ou may e                               5.
Date: May 5 , 2014
Marcus A. Mancini . • Escr.
                                   FypE OR PRINT NAME)                                                  (SIGNATURE OF PARTY OR ATI-ORNEY FOR P
                                                                      NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal kules of Court, rule 3.220.) Failure to file may result
     in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • ff this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                       Page l of 2
Form Adopted for Mandatory Use                                 CIVIL CASE COVER SHEET                                     Cal. Rules of Court, rules 2.30, 3.220 3.400-3.403, 3.740,
  Judicial Counoll of Caltfornia                                                                                                  Cat Standards of Judicial AdmInistration, std. 3.10
   CM-010 (Rev. July 1, 2007)
                                                                                                          d7t
        Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 26 of 40 Page ID #:105




      ROBLES -vs- HEALTHCARE SERVICES GROUP ,
SHORT TITLE:                                                                                                     CASE NUMBER                                      4490,i2
INC., et al.,

                                              CIVIL CASE COVER SHEET ADDENDUM AND
                                                                 STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

        This form ls required pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

 Item I. Check the types of hearing and fill In the estimated length of hearing expected for this case:
   JURY TRIAL.? I X I YES CLASS ACTION? InYES LIMITED CASE? LA YES TIME ESTIMATED FOR TRIAL7 - 9                                                                  FT HOURS/In DAYS
 item 11. indicate the correct district and courthouse location (4 steps — If you checked "Limited Case", skip to Item III, Pg. 4):


     Step 1 : After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
     case in the left margin below, and, to the right in Colurnn A , the Civil Case Cover Sheet case type you selected.

     Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

     Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have
     checked. For any exception to the court location, see Local Rule 2.0.

                               Applicable Reasons for Choosing Courthouse Location (see Column C below)

      1.   Class actions must be filed in the Stanley Mosk Courthouse, central district.                  6.    Location of property or permanently garaged vehicle.
      2.   May be filed In central (other county, or no bodily injury/property damage).                   7.    Location where petitioner resides.
      3.   Location where cause of action arose.                                                          8.    Location wherein defendant/respondent functions wholly.
      4.   Location where bodily injury, death or damage occurred.                                        9.    Location where one or more of the parties reside.
      5.   Location Where performance required or defendant resides.                                     10.    Location of Labor Commissioner Office


     Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration.

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    o
                              Auto (22)             EJ A7100 Motor Vehicle - Personal Injury/Property DamageNs/rongful Death                                            1., 2., 4,

                     Uninsured Motorist (46)        [       I A7110 Personal Injury/Property Damage/Wrongful Death-Uninsured Motorist 1., 2., 4.

                                                    I-      I A6070 Asbestos Property Damage                                                                            2.
                            Asbestos (04)
                                                        [   I A7221 Asbestos - Personal Injury/Wrongful Death                                                           2.

                         Product Liability (24)                  A7260 Product Liability (not asbestos or toxic/environmental)                                          1., 2., 3., 4., B.

                                                        I   I A7210 Medical Malpractice - Physicians & Surgeons                                                         1., 4.
                     Medical Malpractice (46)
                                                              A7240 Other Professional Health Care Malpractice                                                          1., 4.

                                                        ETI A7250 Premises Liability (e.g., slip and fall)                                                              1., 4.
                               Other
                           Personal injury              [   I A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                     assault, vandalism , etc.)                                                                         1., 4.
                          Property Damage
                           Wrongful Death                        A7270 Intentional Infliction of Emotional Distress                                                     1., 3.
                                (23)
                                                        I        A7220 Other Personal Injury/Property Damage/Wrongful Death                                             1., 4.



LACIV 109 (Rev. 03/11)                            CIVIL CASE COVER SHEET ADDENDUM                                                                                    Local Rule 2.0
LASC Approved 03-04                                         AND STATEMENT OF LOCATION                                                                                  Page 1 of 4
                                                                                                                                                                                        LA-CV109
        Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 27 of 40 Page ID #:106




            ROBLES -vs- HEALTHCARE SERVICES GROUP,
    SI-MRTTM.E:                                                                                                    CASE NUMBER
     TNr.. et al ,

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                            Business Tort (07)                               A6029 Other Commercial/Business Tort (not fraud/breach of contract)                 1., 3.

                             Civil Ftlghts (08)            1                1 A6005 Civil Rights/Discrimination                                                  1., 2., 3.

                             Defamation (13)                I               I A6010 Defamation (slander/libel)                                                   1., 2., 3.

                                Fraud (16)                  I               I A6013 Fraud (no contract)                                                          1., 2., 3.

                                                            I I A6017 Legal Malpractice                                                                          1., 2., 3.
                  Professional Negligence (25)              „
                                                            I I A6050 Other Professional Malpractice (not medical or legal)                                      1., 2., 3.

                                Other (35)                                   A6025 Other Non-Personal Injury/Property Damage tort                                2.,3.
                                                                                                                                                                                          1
                    Wrongful Termlnation (36)               I X I A6037 Wrongful Termination                                                                     1.0,3.

                                                            I               I A6024 Other Employment Complaint Case                                              1., 2., 3.
                       Other Employment (15)
                                                            LJ A6109 Labor Commissloner Appeals                                                                   10.

                                                  .             = A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful                        2., 5.
                                                                           evIctIon)
                  Breach of Contract/ Warranty                                                                                                                    2., 5.
                              (06)                                          I A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/neglIgence)
                        (not Insurance)                                                                                                                           1., 2., 5.
                                                            LJ A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                            LJ A6028 Other Breach of Contract/Warranty (not fraud or negllgence)                                  1., 2., 5.



                             Collections (09)
                                                            LJ A6002 Collections Case-Seller Plaintiff                                                            2., 5., 6.
                                                                I           I A6012 Other Promlssory Note/Collections Case                                        2., 5.

                      Insurance Coverage (18)                   I           I A6015 Insurance Coverage (not complex)                                              1., 2., 5., 8.


                                                            LJ A6009 Contractual Fraud                                                                            1., 2., 3., 5.
                            Other Contract (37)                 LJ A6031 Tortious Interference                                                                    1., 2., 3., 5.

                                                            LJ A6027 Other Contract Dlspute(not breach/insuranceffraudlneglIgende)                                1., 2., 3., 8.

                       Emlnent Domain/Inverse                   i           i
                                                                1           1 A7300 Eminent Domain/condemnation                 Number of parcels                 2.
                         Condemnation (14)            •




                           Wrongful Eviction (33)                   I       I A6023 Wrongful Eviction Case                                                        2., 6.

                                                                    I        I A6018 Mortgage Foreclosure                                                         2., 6.
                       Other Real Property (26)                     LJ A6032 Quiet Title                                                                          2., 6,
                                                                    I,       I A6060 OtherReal Property (not eminent domaln, landlord/tenant,foreclosure) . 2., 6.

                  Unlawful Detainer-Commercial                      LJ A6021 .Unlawful Detainer-Commercial (not drugs or wrongful evIction)                       2., 6.
                              (31)
                   Unlawful Detain2)er-Residential                            A6020 Unlawful Detainer-ResIdential (not drugs or wrongful eviction)                2., 6.
                                (3
                            Unlawful Detainer-             1                 I A6020F Unlawful Detalner-Post-Foreclosure                                          2., 6.
                           Post-Foreclosure (34)
                                         _                 —
                   Unlawful Detainer-Drugs (38)                         I    I A6022 Unlawful Detainer-Drugs                                                       2., 6.




    LACIV 109 (Rev. 03/11)                                CIVIL CASE COVER SHEET ADDENDUM                                                                      Local Rule 2.0
    LASC Approved 03-04                                      AND STATEMENT OF LOCATION                                                                           Page 2 of 4




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        Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 28 of 40 Page ID #:107




      ROBLES -Vs- HEALTHCARE SERVICES GROUP,
SHORT TimE:                                                                                                                               CASE NUMBER
INC . et al.,
                                                   ,•                   Y..       ,                   .         .
                                            '    TriiiiiiCEISOANOIMIgT            ,   l'.       -         '   ' ri"
                                                                                                                        1   '   f Acti     . -7-' ,•;,-                     ;-.'    'Ilk p         bililgRe Soi107''
                                                     '-;CatiidOij'i f41       -       s;•-                       ••• • "''' hec 15   ;0    -    4   %         ' i       ''. 4.•      '        ee      p;      ve ,
                                                  Asset Forfeiture (05)                 I       I A6108 Asset Forfeiture Case                                                        2., 6.
            Review




                                                Petition re Arbitration (11)            1       1 A6115 Petition to Compel/ConfirraVacate Arbitration                                2., 5.
    JudIcial




                                                                                        LJ A6151 Writ - Administrative Mandamus                                                       2., B.
                                                   Writ of Mandate (02)                     MI A6152 Mt - Mandamus on Limited Court Case Matter                                       2.
                                                                                        1       1 A6153 Writ - Other Limited Court Case Review                                        2.

                                                Other Judicial Review (39)              1       1 A6150 Other Writ /Judicial Review                                                   2., 8.
         Provisionally Complex Litigation




                                            AntItrust/Trade Regulation (03)             ËIA6003 Antitrust/Trade Regulation                                                            1., 2., 8.

                                                 Construction Defect (10)               ËI A6007 Construction Defect                                                                  1., 2., 3.

                                                Claims involving Mass Tort
                                                                                                I A6006 Claims Involving Mass Tort                                                    1., 2., B.
                                                           (40)
                                                 Securities Litigation (28)                 ËI A6035 Securities Litigation Case                           •                           1., 2., 8.

                                                       Toxic Tort
                                                   Environmental (30)                       LJA6036 Toxic Tort/Erwironmental                                                          1., 2., 3., 8.

                                                Insurance Coverage Claims
                                                  from Complex Case (41)                            A6014 Insurance Coverage/Subrogation (complex case only)                          1.,2., 5., 8.

                                                                                            1   1 A6141 Sister State Judgment                                                         2., 9.
                                                                                            I   I A6160 Abstract of Judgment                                        .                 2., 6.

                                                       Enforcement                          1   1 A6107 Confession of Judgment (non-domestic relations)                               2., 9.
                                                     of Judgment (20)                       LJA6140 Administrative Agency Award (not unpaid taxes)                                    2., 8.
                                                      '                                     ËI A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax                         2., 8.
                                                                                                    A6112 Other Enforcement of Judgment Case                                          2., 8., 9.

                                                          RICO (27)                             I A6033 Racketeering (RICO) Case                                                      1., 2., B.

                                                                                                I A6030 Declaratory Relief Only                                                       1., 2„ 8.

                                                    Other Complaints                            I A6040 Injunctive Relief Only (not domestic/harassment)                                 2.,.8.
                                                (Not Specified Above) (42)                      I A6011 Other Commercial Complaint Case (non-tort/non-complex)                        1., 2., 8.
                                                                                            ËI A6000 Other Civil Complaint (non-tort/non-complex)                                        1., 2., B.

                                                  Partnership Corporation                   lI A6113 Partnership and Corporate Govemance Case                                            2., 8.
                                                     Governance (21)

                                                                                            ËI A6121 Civil Harassment                                                                    2., 3., 9.
                                                                                                1 A6123 Workplace Harassment                                                             2., 3., 9.
   N
                                                                                                 I A6124 Elder/Dependent Adult Abuse Case                                                2., 3., 9.
                                                      Other Petitions
                                                   (Not Specified Above)                    ËI A6190 Election Contest                                                                    2.
                                                            , (43)
                                                                                            LJ A6110 Petition for Change of Name .                                                       2., 7.
                                                                                            ËI A6170 Petition for Relief from Late Claim Law                                             2., 3., 4., B.
                                                                                            LJ A6100 Other Civil Petition                                                                2., 9.




LACIV 109 (Rev. 03/11)                                                            CIVIL CASE COVER SHEET ADDENDUM                                                                  Local Rule 2.0
LASC Approved 03-04                                                                  AND STATEMENT OF LOCATION                                                                       Page 3 of 4
        Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 29 of 40 Page ID #:108



munneROBLES -Its- HEALTHCARE SERVICES GROUP,                                             AREKIWER
INC., et al.,                                                                        V
Item III. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

                                                                    ADDRESS' 5199 E. Pacific Coast Hwy.
 REASON: Cheek the appropriate boxes for the numbers shown
 under Column C for the type of action that you have selected for
 this case.

  E31. 2.= 3=4.= 5.=6.0 7. =8. =9. =10.
 CnY:                                      STATE     ZIP CODE

 Long Beach                               CA         909 0 4

Item IV. Declaration of Assignment: I declare under penalty of perjury under the laws of the State of California that the foregoing Is true
and correct and that the above-entitled matter Is properly filed for assignment to the    STANLEY MOSK                   courthouse in the
  CENTRAL                District of the Superior Court of California, County of Los Angeles (Code Civ. Proc., § 392 et seq., and Local
Rule 2.0, subds. (b), (c) and (d)].



Dated:    May 5 , 2014
                                                                                   (SIGNATURE OF ATTORNEYIFILING PARTY)
                                                                                      MARCUS A . MANCINI


PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

     1. Original Complaint or Petition.
     2, If filing a Complaint, a completed Summons form for issuance by the Clerk.

     3. Civil Case Cover Sheet, Judicial Council form CM-010.
     4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
        03/11).

     5. Payment in full of the filing fee, unless fees have been waived.

     6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
        minor under 18 years of age will be required by Court in order to issue a summons.
     7. Additional copies of documents to be conforrned by the Clerk. Copies of the cover sheet and this addendum
        must be served along with the summons and complaint, or other initiating pleading in the case.




LAC1V 109 (Rev. 03/11)                  CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.0
LASC Approved 03-04                        AND STATEMENT OF LOCATION                                                   Page 4 of 4
         Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 30 of 40 Page ID #:109
                                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                   "   NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE (NON-CLASs ACTION)
                                              Case Number

                                       THIS FORM IS TO DE SERVED WITH THE SUMMONS AND COMPLAINT gCt                                                     6 c-
         Your case is assigned for al1 purposes to the judicial officer hsdicated below . There is additional information on the reverse side of this form.*
       ASSIGNED JUDGE                             DEPT           ROOM              ASSIGNED JUDGE                                DEPT            ROOM
        Hon. Daniel Buckley                          1             534             Hon. Malcolm H. Mackey                          55           515

        Hon. Barbara A. Meters                       12            636             Hon. Michael Johnson                            56           514

        Hon. Terry A. Green                          14            300             Hon Rolf M. Treu                                58            516

        Hon. Richard Fruin                           15            307             Hon. Michael L. Stem                            62            600

        Hon. Rita Miller                             16             306            Hon. Mark Mooney                                68            617

         Hon. Richard E. Rico                         17            309            Hon. William F. Fahey                           69            621

         Hon. Kevin C. Brazile                       20 '           310             Hon. Soussan G. Bruguera                       71            729

         Hon. Robert L. Hess                          24            314             Hon. Ruth Ann Kwan                              72           731

         Hon. Yvette M. Pidazuelos                    28            318             Hon. Rafael Ongkeko                            73           .733

         Hon. Barbara Scheper                         30            400             Hon. Teresa Sanchez-Gordon                      74           735

         Hon. Mary H. Strobel                         32            406

         Hon. Michael P. Linfield                     34             408

         Hon. Gregory Alarcon                         36             410            Hon. Emilie H. Elias                          324          CCW
          Hon. Maureen Duffy-Lewis                    38             412            Hon. Elihu M. Berle*                          323          CCW
          Hon. Michelle R. Rosenblatt                 ao             414

          Hon. Holly E. Kendig                           42          416

          Hon. Mel Red Recana                            45          529

          Hon. Frederick C. Sheller                      46          500

          Hon. Debre Katz Weintraub                      47           507

          Hon. Elizabeth Allen White                     48           506

           Hon. Deirdre Hill                             49           509

           Hon. John L. Segal                             50          508

           Hon. Mitchell L Beckloff                       51          511

           Hon. Susan Bryant-Deason                       52          510

           Hon. Steven J. Kleifield                       53          513            OTHER

           Hon. Ernest M. Hiroshige                       54          512
Icsingla
AII cases designated as corrqdex (other than class actions) are initially assigned to Judge ESN M. Berle hi Department 323 of the Central CM West Courthouse (60O S.
Commonwealth Ave., Los Angeles 90005). This assignment le for the purpose of assessing whether or not the case Is complex within the meaning of California Rules of
Court, rule 3A00. Depending on the outcome of that Westmont, the case may be reassigned to one of the Judges thin' Complex Litigation Program or reassigned
randomly to a court ln the Central District.                                                                          ....
Given to the Plaintiffirross-Complainant/Attorney of Record ongily_eatoidi S                                                    ARTER, Executive Officer/Clerk
                                                                                                                                                   , Deputy Clerk      _
      LACIV CCH 190 (RevOW1 3)                                  NOTICE OF CASE ASSIGNMEN                                                               Page 1 of 2
      LASC Approved 05-013
      For Optional Use                                               UNLIMITED CML CASE
             Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 31 of 40 Page ID #:110

                             INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

.. The following critical provisiens of the Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.

  APPLICATION
  The Chapter Three Rules were effective January 1, 1994. They apply to all general civil cases.

   PRIORITY OVER OTHER RULES
   The Chapter Three Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

   CHALLENGE TO ASSIGNED JUDGE

   A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assigiunent for all purposes to
   a judge, or if a party has not yet appeared, within 15 days of the first appearance.

   TIME STANDARDS

   Cases assigned to the Individual Calendaring Court will be subject to processing under the following thne standards:

    COMPLAINTS: All complaints shall be served within 60 days of filing and proof of service shall be•filed within 90 days of filing.

    CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their
    answer is filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the
    filing date.

    A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
    complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
    trial date, and expert witnesses.

     FINAL STATUS CONFERENCE

     The Court will require the parties at a status conference not more than 10 days before the trial to have thinly filed and served all
     motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and
     special jury instructions and special jury verdicts. These matters may be heard and resolved at this conference. At least 5 days
     before this conference, counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief
     statement of the case to be read to the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.

     SANCTIONS

      The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Tbree Rules, orders made by the Court,
      and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party or if
      appropriate on counsel for the party.

      This is not a complete delineation of the Chapter Three Rules, and adherence only to the above provisions is therefore
      not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
      compliance with the actual Chapter Rules is absolutely imperative.




            LACIV CCH ISO (Rey09/13)                       NOTICE OF CASE ASSIGNMENT —                                            Page 2 of 2
            LASC Approved 05-06
            For Optional Use                                   UNLIMITED CIVIL CASE
          Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 32 of 40 Page ID #:111




                              VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                 The Early Organizational Meeting Stipulation, Discovery
                              Resolution Stipulation, and Motions in Limine Stipulation are
Supoitot Cannot Colloada      voluntary stipulations entered into.by the parties. The parties
Cooly of Laokola
                              may enter into one, two, or all three of the stipulations;
                              however, they may not alter the stipulations as wdtten,
                              because the Court wants to ensure uniformity of application.
Las Amin body
Dar Asooddloo                 These ,stipulations are meant to encourage cooperation
Ulipaos Omen
                               between the partial and to assist in resolving issues in a
 4,==or and
 1
 laploposol Law floolos        manner that promotes economic case resolution and judicial
                 •
                               efficiency.
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                  L.olith
            =UAW:
                .
                                  The Ibibwing organizations endorse the goal of
  421111111111111W Allonyms
  Aosookloo of Lao Moira       promoting efficiency in litigation and ask that counsel
                               oonsider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve IasueaIn MO oases.

                                *Los Angeles County Bar Association Motion Section*

                                          • Los Angeles County Bar Association
                                          Labor and Employment Law Section*
    Parodeloo ei
    Ilookons Tad WWI                *Consumer Attorneys Association of Los Angeles*

                                          *Southern California Defense Counsel*

                                         *Association of Business Trial Lawyers*
     Callondo lioilog000d
     Lamm Salodoloil
                                      *California Employment Lawyers Association*
       Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 33 of 40 Page ID #:112
e.




                                                                        61111111MINIt




     The etipuladon Wintended to provide a fast and informal resolution of discovery issues
     through Indted papaws* and an Waned oedemas with the Court to old In the
     reeolution of the Issues
     The patios agree that:

     1. Nor to Vie discovery add, hi this acilon, no diecoiray motion shall be Med or heard unless
        the moving lady fiat mikes a written request for an informed Discovery Conference pursued
        b the tams of this stipulation.
     2. At the infornid Diecovey Wawa the Cad will consider the depute presented by pada
        and determine *holier 11 cm be sesolved infonnally. Noting eat forth lamb vie preclude a
        party Gem rneldng a record at the concludon ri at inhumed Discovery Oedema, either
        orally or in Wing.
     3. Folaving a reasoneble and good bith attempt at an kdomid resoled= of eede Issue to be
        presented, a pasty may request an Inbreed Discovery Conference pursuant la the folbeing
        procedures:
            6. The party requesting the !domed Discovery Conference wig:
              1.   Flle a Request for Nonni Discovery Centeno* wilh the dories once on the
                   approval form (copy abided) mid defter a courtesy.. confoemed cow to the
                   assigned dominant . .
              IL hick& a brief summery oldie depute and spa* the Mat requested; end
              M. lierve the opposing pally pursued to any aulhodeed or agreed method of service
                    that enures flat the oppoikig petty receives the Request for informal Diecoveey
                    Conference no Ida than the nett cast day foliating the ling.
            b. My Mater to a Request fer inland Discovery Conference neat
               L Aleo be illed an the award fame (copy altechedX
              U. include a brief summavy of why the requested relief &auk1 be dialect
      UM OM pia)              STIPULATION DISCOVERY RESOLUTION
      IMOPowell OYU                                                                             ars
      Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 34 of 40 Page ID #:113




         discoed In the ?Altemedver Disputa Resolution (ADR) Wormation Packager send wi ihs
         complaint
                                             •
     h. Computation d damages, inoludIng documents not pdvlaged or protected from disclosure, an
         Welch ash computation Is baset
     L Whether the gees is sulsble tor Om Expelled Jury Tdd procadures. (ass Monition a
        igrakgmbingsgrail wider VAC and Own toga Mama) kebematiorf).
2.       The lime for a Mandrel party to respond to a complaint or crosslompisint ell be Weeded
           mmommaliiiimagrrommumo tor the =aphid, aid                             for the craw
          complaint, which is campand of les 30 days to =pond under Govemmant Code 50310(b),
         . and le 30 days permitted tri Cods at Cid Procedure awl= 1054(a), good cam having
          been found by le Cid espervising Judge dus to the cos manamment benefits podded by
           Uds 811publ15n.
                                                      •
3.         Ms perliss wit mews a joint most Wed "Joint Stabs Repeat Pursuant to Wad Codarencs
           and Early Orgeriallond: Meeting elpulallon, and if desired, • papoose) oder sommabing
           mails of twit mast and =Ea and advising the .Coult di any way it may odd lie palm:
           awed candid or issaikelion d( Ma cose. the pada dedattach ths           Indus Repast to
           the Cass Management Conformal stalement, ad fle the doormats when this CMC
           salsined Is due.
 4.        Ratarances to days° mews calendar dam unless olismdse Med. If the date tor psdonning
         . trg act pursuant Sothis alpulation his °waded*, flunky or Court hdday, *tenths Ime
           tor parlorming diet ad dial be edseded lo the next Court day
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     LACINSAIPitt_       STIPULATION — EARLY ORGANIZATIONAL MEWING
     tA11114esivuleinl                                                                      Pusiltd2
         Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 35 of 40 Page ID #:114




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     AT401311111141=
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELEIL




             STIPULATION - EARLY ORGANIZATIONAL MEETING

         This ettpulation Is Intended to encourage cooperiion among the patios at en early adage In
         the litigation and te assist the wise In mildest case resolution.

         The parties agree that
          1. Tho ponies commi to conduct an initial conference (Unperson or via telecarderence 'or via
              videocontemnce) within 15 days film the dale this *Mon le signed, to discuss and cons:dor
              whether ewe can be agreement on thy Mow*

               a. Are motions to Oolongs the Owings necessary? If dm isms con be resolved by
                  amendment as of :WI, or if the Court wadd ill Isere to amend, could an amended
                  complaint resolve most or el dere Neuss a downer might olliencles ralse? deo, Me press
                  agree to work Ilso41 phieding issues so that a demurrer need lady raise Issues they cormat
                  media Is Ike Inoue lid the defended seeks ka Wes amenable to rcai1lnn on demurrer, at
                  would some other lype of motion be inferable? Could a voluntary sugutnd exchenge of
                  documents or kdomeMors by say piety cure an uncertainty ka the plowings?

                b. MI narked sechmages of documents at the 'WW1 at the Ifigellon. (For oomph% In an
                   employment ces*, Om employmed mord,. personnel Ms and documents Walks to the
                   =Mud In question could be considemd °core In a punnet filmy case. an Incident or
                   pan wort, medical records, and rep* or maktionance recants could be considered
                   bone);

                 c. Exhume of manes and coated inikametion dullness's;
                                                                            •
                 d. My harms soreement lat may be crialiskie to WWI put or d of a judgment, or to
                    Mem* or ielmburee for payments nude lo sell* a judgment           •




                 e. Exchengs of eny other information that might be belied to facade understeming, hoeing.
                    or resoliallonolUue case bummer that preserves obiecNons or phlegm by Owsoment

                 I. Cowling Issues of km that, If resolved sift, will promote Galway and economy in doer
                    phase tithe caw Also, sten and hrri such Issues am be presented b Me Court

                       Whether or when the case should be scheduled nth a selliemelit MINKwlsid *him/ Or
                       mud nilna an hod issues is respond* milked So mike sellisment Mansions meaningibi,
                       and whether Nu parties Wets le use a Meg Judge or a pirate medstir or other options as

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            MO Miami NM      1171PULATION - EARLY ORGANIZATIONAL MEETING                                 rep I eta
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    Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 36 of 40 Page ID #:115


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         IL Be filed within Iwo (2) court days of receipt of the Request: and
         iv. Be sewed on the opposing pidy pursuant to any authorized or agreed upon
               method d service that ensures that the opposing party receives the Answer no
               later Menthe next court day following the Ong.
    a. No other pleadings, including but not limited to exhibits, declaratione, or attediments, will
        be accepted
    d. If the Court hes not granted or denied the Request for Infomial Discovery Conference
       witNn ten (10) days ;allowing the Sing of the Request. then It shall be deemed to. heve
       been denied. if the Court Bch) an the Request, the parks will be notified whether the
       Request for Informal Discovery Conference has been grunted or denied and. If granted,
       the dale and Urns of the kdormel Discovery Conference, *doh must be within twenty (20)
       days tithe fang of the Request for [Amid Discovery Conference.
    e. If the caderence ned held within heady (20) days of the Bing of the Request for
    . Informal Mooney Conference unless mdended by                   al the pada and the
        Court, then the Request for the Infomul Discovery Conerençs shall be deemed to hive
        been denied at that time.
4. If (a) Me Court hee dented • conference or (b) one d the lime deadlines above hes expired
   without the Court having acted or (a) the Informal Discovery Conference Is concluded without
   resdVing the dispute, then a poly may Ss a discovery motion to address unresolved issues.
5. The pollee hereby further ogres that the Imo for maidng a motion b compel or dher
   discovery motion is Med hom the dais of Sing of the Request for Miami Discovery
   Conference until (a) the mquest is dented or deemed denied or (b) twenty (20) days alter the
   tEng d the.Request for Informs! DiscoveryConferenos, whichever is ostler, unless extended
   by Order of the Court..
• It is the underdending and hunt of the purees that IN* stipdation she& for each discovery
  dispute b ends it applies. constitute • Ming memodelzkrg espedio later date to whidt
• the propounding (or demanding or taqueednd petty and the responding party hays agreed in
  Weir within Ise mewing of Code Clvil Procedure medians 2030.300(o). 2031.320(o). and
  2033.200(c).
6. Nothing herein will preclude any party from applying ex parte tor appoptiate relief, Wading
   as ceder ehottening drne for a motion to be herd concerning &Gayety.
7. My party may lominde this stipulation by giving twentpone (21) days notice of intent to
   tombola the stipulation.
& References Widows mean oriendw days, unless othemise noted if the dee for perloardng
  any ad pursued to this stipulation falls on a flaturdiy. Sunday or Court holiday, then the time
  for performing that ad shell be Wended to the next Court day.



waved pale               STIPULATION — DISCOVERY.RESOLUTION
ukscAnnuoroull                                                                               Pagszals
         Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 37 of 40 Page ID #:116




  The following parties stipulate:
  Date:

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        Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 38 of 40 Page ID #:117




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 SUPERIOR COURT OF CAUFORNIA. COUNTY OF LOS ANGELES
"IROVERINVEMOR   -.- .
11)31111%                                                                      .
711.2116gih                                .
       •       INFORMAL DISCOVERY CONFERENCE                  ' milimmopt
         _ fpwsuwaw DI Maw fispousal spourigan of ihe mow
      1. Thb
                  Request far informel Mom Cardamom
             a Moor lo Rawest far Memel Mummy Canferenco
      2. Dolmans for Cad to decide are Request            ontdie II wieder dip OWN
            Se 110poul
      3. DeoMns far Court la hold Wiwi Discovery Cardamom                    pima ON 20 denier
         ago 1100•00
      4. Far a Room*• for infanssi Discovery Conference, kdat describe the nature of the
         discovery dispute. Including the fads and lewd arguments at issue. For au Ammer to
         Request Am inforned Discovery Conference, Nog describe why lbo Court should deny
         as requested dame% including as fads and Ind eniimsnb at issue.




      tiZeliffsenie               INFORMAL DISCOVERY CONFERENCE
      LA1C /1.V JS5I1I        11112211d 10 IN! 0100%/11,Resdides
                                                     alpellset pa**
      Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 39 of 40 Page ID #:118




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SUPERIOR COURT OF CAUFORNIA, COUNTY OF LOS ANGELES
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'UMW:


           STIPULATION AND ORM — MOTIONS IN MINE


     This stipulation le intended to provide fast and Informal resolution of evidentiary
     Issijes through diligent efforts to defies end discuss such issues and ilmit paperwork.


     The pestles agree that:
     1: At but         days before the final status conference, sech petty will provide di other
        parties with a list containing a one paragraph explanation of each proposed motion in
        !knit's. Each ow paregraph *mimetic:in must Wary the substance of a single proposed
        motion in keine and the grotmds for the pmposed motion.
     2. The pates thereaftsi' w1N meet and confer, either in person or via teleconference or
        videoconfarence, concenSig *proposed motions in Seimki that meet and confer, the
        proles determine
          a Whether the parties can stipulate to arq of the proposed mdions. If the patties so
             *pule* they may Se a stipulation and pawned order with the Court.
          b. Whether any of Vie proposed motions can be briefed and submitted by means of a
      •      short jokit stelement d issues. For each motion which con be addressed bya short
             joint sielement d Issues, a short joint stetement disuses must be Med with the Court
             10 days pdor to the Ilnal status conference. Each side's portion of the short joint
             statement of issues may not exceed throe peps. The pales will meet and confer to
             agree on s date and manner for etchanging the parties respective potions of the •
             dart joint dawned d issues and the proton for fling the short Joint stidement
             issues.
     a All proposed Mims In &dm that aro not slew to subject at a stipulation or briefed via
        a short jokit sidurnellf d blues will be briefed and Ned In accordance with the Califomie
        Rules of Court aid Ihe Lae Angeles Superior Coot Rules.



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    MC MOW" "404,11       STIPULATION AND OMER – NOTIONS IN MINE
    Case 2:14-cv-04569-AB-VBK Document 1-1 Filed 06/13/14 Page 40 of 40 Page ID #:119


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                           ORDER - MOTIONS IN LINE
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